             Case 23-90786 Document 695 Filed in TXSB on 03/11/24 Page 1 of 5




                            IN THE UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                 )      Chapter 7
                                                           )
                                                           )      (Previously Chapter 11)
    SMILEDIRECTCLUB, INC., et al.,                         )
                                                                  Case No. 23-90786 (CML)
                                                           )
                                                           )
                       Debtors.
                                                           )

                LTIMINDTREE LIMITED’S MOTION FOR ALLOWANCE OF
              ADMINISTRATIVE EXPENSE CLAIM UNDER 11 U.S.C. § 503(b)(1)(A)
                              [Relates to Docket No. 654]

                     LTIMindtree Limited (“LTIM”), by and through its undersigned counsel, hereby

files this Motion for Allowance of Administrative Expense Claim Under 11 U.S.C. (the “Motion”),

and in support of the Motion, LTIM states as follows:

                                                   BACKGROUND

             A.      The Master Consulting Agreement

                     1.       SmileDirectClub, LLC, one of the above-captioned debtors (collectively,

the “Debtors”), and LTIM are parties to a prepetition Master Consulting Agreement (the

“Agreement”). In connection with the Agreement, LTIM procured various Microsoft software

licenses (collectively, the “Licenses”)1 for the Debtors. The term of the Licenses began on August

23, 2023 and runs through September 2024.

             B.      The Bankruptcy Case

                     2.       On September 29, 2023 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code.


1
             The Agreement, Licenses, and related documentation are confidential and, therefore, they are not attached to
             this Motion. The Debtors are in possession of all documents related to the Agreement and the Licenses, which
             should now be in the possession of the Chapter 7 Trustee. Such documentation will be provided to parties-
             in-interest upon written request to LTIM’s undersigned counsel and execution of a confidentiality agreement.
          Case 23-90786 Document 695 Filed in TXSB on 03/11/24 Page 2 of 5




                    3.      The Debtors operated their businesses and managed their properties as

debtors and debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code

until the Court entered its Order Denying Debtors’ Motions and Converting Cases to Chapter 7

on January 26, 2024 (the “Conversion Date”).2 On the Conversion Date, the U.S. Trustee

appointed Allison D. Byman as the Chapter 7 Trustee (the “Trustee”).

                    4.      Between the Petition Date and Conversion Date, LTIM provided the

following services to the Debtors, which remain unpaid:

     Date/Service          Invoice/                          Description                            Amount
        Period            P.O. No.
       10/31/23          420000865    Skilled effort (21 FTEs offshore) for October 2023            $105,848.75
       11/30/23          420001082    Skilled effort (21 FTEs offshore) for November 2023           $106,522.50
       Pending             Pending    Skilled effort (21 FTEs offshore) through December 8, 2023     $33,906.25
     October 2023        2023111422   MS License Usage for October 2023                              $60,988.37
    November 2023        2023111422   MS License Usage for November 2023                             $60,988.37
    December 2023        2023111422   MS License Usage for December 2023                             $60,988.37
     January 2024        2023111422   MS License Usage for January 1-25, 2024                        $49,184.17
                                                                                           Total:   $478,426.78

                    5.      On February 13, 2024, the Trustee filed her Emergency Motion to Establish

Bar Dates for Chapter 11 Administrative Expense Claims and Professional Fees (the “Admin Bar

Date Motion”).3 On February 14, 2024, the Court entered an order approving the Admin Bar Date

Motion, setting March 15, 2024 as the deadline for creditors to file an application seeking an

administrative expense claim from the Petition Date to the Conversion Date. 4

                                          RELIEF REQUESTED

                    6.      LTIM requests the allowance of a chapter 11 administrative expense claim

in the amount of $478,426.78, representing post-petition amounts due under the Agreement from




2
         Docket No. 617.
3
         Docket No. 650.
4
         Docket No. 654.
        Case 23-90786 Document 695 Filed in TXSB on 03/11/24 Page 3 of 5




the Petition Date through the Conversion Date, pursuant to section 503(b)(1)(A) of the Bankruptcy

Code.

                                          DISCUSSION

               7.      Sections 503(b)(l)(A) and 507(a)(2) of the Bankruptcy Code provide, in

part, that “the actual, necessary costs and expenses of preserving the estate” constitute

administrative expenses and are entitled to priority payment. See 11 U.S.C. §§ 503(b)(l)(A);

507(a)(2). Administrative priority is given to post-petition vendors to induce them to engage in

business with a debtor’s estate. In re TransAmerican Natural Gas Corp., 978 F.2d 1409, 1416 (5th

Cir. 1993).

               8.      To qualify as an actual and necessary cost of preserving the estate, the

obligation (a) must have arisen from a transaction with the estate, and (b) the goods or services

supplied must have enhanced the ability of the estate’s business to function. Id. at 1416. The

“benefit” requirement has no independent basis in the Bankruptcy Code—it is merely a way of

testing whether a particular expense was truly “necessary” to the estate. If it was of no “benefit,”

it could not have been “necessary.” Texas v. Lowe (In re H L.S. Energy Co.), 151 F.3d 434, 437

(5th Cir. 1998). As explained by the United States Supreme Court, a debtor must pay for the

services it receives and benefits from:

               If the debtor-in-possession elects to continue to receive benefits
               from the other party to an executory contract pending a decision to
               reject or assume the contract, the debtor-in-possession is obligated
               to pay for the reasonable value of those services, which, depending
               on the circumstances of a particular contract, may be what is
               specified in the contract.

N.L.R.B. v. Bildisco & Bildisco, 465 U.S. 513, 531–32 (1984) (citations omitted).

               9.      LTIM continued to honor its obligations under the Agreement after the

Petition Date, and the Debtors continued to access and use the Licenses on a post-petition basis
        Case 23-90786 Document 695 Filed in TXSB on 03/11/24 Page 4 of 5




through the Conversion Date. The Debtors’ post-petition use of the Licenses enabled the Debtors

to use Microsoft’s products during the pendency of the Bankruptcy Cases. The cost of the Licenses

constitutes an actual and necessary cost of preserving the Debtor’s estate because the Licenses

were necessary for the Debtors to perform their day-to-day business operations to maintain the

value of the Debtors’ assets and enterprise.5

                10.      Accordingly, LTIM is entitled to an administrative expense claim totaling

$478,426.78 for the outstanding amount due under the Agreement from the Petition Date through

the Conversion Date.

                                [remainder of page intentionally blank]




5
       LTIM reserves all of its rights with respect to any use of the Licenses after the Conversion Date.
          Case 23-90786 Document 695 Filed in TXSB on 03/11/24 Page 5 of 5




                                          CONCLUSION

                    WHEREFORE, LTIM requests that the Court (i) allow LTIM’s administrative

expense claim as set forth above, and (ii) grant such other relief as the Court deems just and proper.

Houston, TX
Dated: March 11, 2024

                                                 KELLEY DRYE & WARREN LLP

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                                                  Counsel to LTIMindtree Limited



                                  CERTIFICATE OF SERVICE

        I certify that on March 11, 2024, I caused a copy of the foregoing document to be served
by the CM/ECF Notification System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                    /s/ Sean T. Wilson
                                                    Sean T. Wilson




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